             Case 5:05-cr-00445-RMW          Document 27       Filed 10/03/05     Page 1 of 4



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9
                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12                                                                  *E-FILED - 10/3/05*
13
     UNITED STATES OF AMERICA,                    )      No. CR 05-00445-RMW
14                                                )
             Plaintiff,                           )      STIPULATION REGARDING
15                                                )      EXCLUDABLE TIME, CONTINUANCE
        v.                                        )      AND ORDER
16                                                )
     CHIRAYU PATEL,                               )
17     aka nebula, aka nebwrk, aka aluben,        )
       aka notneb, aka aluben,                    )
18                                                )
             Defendant.                           )
19                                                )
20      It is hereby stipulated and agreed between defendant Chirayu Patel, and his counsel Jesse
21   Garcia, and the United States as follows:
22      This matter was set for a status conference on September 26, 2005 at 9:00 a.m. In this
23   copyright infringement case, the defense needs more time to prepare, review discovery
24   previously provided, including a substantial amount of digital evidence, and research legal and
25   sentencing issues. On July 14, 2005, defendant Garcia was arraigned on a nine-count
26   indictment, charging as follows: Count One: Conspiracy to Commit Criminal Copyright
27   Infringement, Infringement By Electronic Means, Infringement By Distributing A Commercial
28   Distribution Work, Traffic in Devices to Circumvent a Technological Measure that Protects a

     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 05-00445-RMW
                Case 5:05-cr-00445-RMW       Document 27        Filed 10/03/05      Page 2 of 4



1    Copyright Work, Circumvent a Technological Measure that Protects a Copyright Work, and Use
2    Audiovisual Recording Devices to Make Unauthorized Copies Of Audiovisual Works, in
3    violation of 18 U.S.C. § 371; Count Two: Circumventing a Technological Measure Protecting a
4    Copyright Work and Aiding and Abetting, in violation of 17 U.S.C. §§ 1201(a)(1)(A),
5    1204(a)(1), and 18 U.S.C. § 2; Counts Three, Four and Five: Trafficking in Technology
6    Primarily Designed to Circumvent Technological Measures Protecting A Right of a Copyright
7    Owner and Aiding and Abetting, in violation of 17 U.S.C. §§ 1201(a)(2)(A), and 1204(a)(1) and
8    18 U.S.C. § 2; Counts Six, Seven, Eight and Nine: Criminal Copyright Infringement By
9    Electronic Means and Aiding and Abetting, in violation of 17 U.S.C. § 506(a)(1)(B), 18 U.S.C.
10   § 2319(c)(1) and 18 U.S.C. § 2; and an allegation of Criminal Forfeiture and Destruction, in
11   violation of 17 U.S.C. §§ 506(b) and 509(a).
12        The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
13   September 26, 2005, until October 3, 2005, because the parties believe that the ends of justice
14   served by the granting of such a continuance outweigh the best interests of the public and the
15   defendant in a speedy trial, particularly since reasonable time is needed for the defense to
16   prepare for pretrial and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii).
17   The parties further stipulate that time may be excluded for reasonable time for defense
18   preparation, since the failure to exclude time would deny counsel for the defendant reasonable
19   time necessary for effective preparation, taking into account the exercise of due diligence,
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 05-00445-RMW                    Page 2 of 4
            Case 5:05-cr-00445-RMW          Document 27        Filed 10/03/05     Page 3 of 4



1    pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv). The parties request that the status
2    conference set for September 26, 2005 be continued to October 3, 2005 at 9:00 a.m.
3       So stipulated.
4    Dated: September 23, 2005                           KEVIN V. RYAN
                                                         United States Attorney
5
                                                                /s/
6                                                        ________________________
                                                         MARK L. KROTOSKI
7                                                        Assistant United States Attorney
8       So stipulated.
9    Dated: September 22, 2005
                                                                /s/
10                                                       ________________________
                                                         JESSE J. GARCIA
11                                                       Attorney for Defendant Lovell
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 05-00445-RMW                    Page 3 of 4
            Case 5:05-cr-00445-RMW            Document 27        Filed 10/03/05      Page 4 of 4



1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for September 26, 2005 at 9:00
4    a.m. for defendant Patel shall be continued to October 3, 2005 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between September 26, 2005 and October 3,
6    2005 shall be excluded from the computation period within which the trial must commence, for
7    the reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12   DATED: October 3, 2005
                                                             /s/ Ronald M. Whyte
13                                                         _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME AND ORDER
     CR 05-00445-RMW                    Page 4 of 4
